    JAMES D. PERKINS, WSBA #12996
    Attorney for the United States Trustee
    United States Dept. of Justice
    920 West Riverside, Room 593
    Spokane, WA 99201
    Telephone (509) 353-2999
    Fax (509) 353-3124


                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF WASHINGTON


      In re:                                          Case No. 19-00473-FPC11
                                                           Jointly Administered

       R & R Trucking, Inc. and Ricardo               UNITED STATES TRUSTEE’S OBJECTION
       and Rosa Cantu                                 TO DISCLOSURE STATEMENT

                       Debtors


               The United States Trustee objects to the Disclosure Statement filed by the Debtors
    on September 23, 2020 as Docket #162 (the “Disclosure Statement”). The United States
    Trustee asserts that the Disclosure Statement does not contain adequate information for
    the following reasons:


        1. LIQUIDATION ANALYSIS
                  a. Exempt Assets. The exemptions in a number of assets claimed by Debtors
                      Ricardo and Rosa Cantus are not reflected in the liquidation analysis in the
                      Disclosure Statement. If the Cantus are waiving their exemptions then the
                      disclosure statement should clearly state that, otherwise their exemptions
                      need to be reflected in the disclosure statement.
                  b. Summary. Except for the exemptions, it appears that the liquidation
                      analysis contains all the necessary information. However, there is no
                      summary table bringing all of that information into one place where
                      creditors can clearly see the total asset values, the amount which would go



    United States Trustee’s Objection to Disclosure Statement

19-00473-FPC11        Doc 177       Filed 10/16/20       Entered 10/16/20 10:03:51    Pg 1 of 3
                     to secured creditors, the amount going to the Cantus as exempt, and the
                     amount that would be available to unsecured creditors in a liquidation.
        2. FINANCIALS
                 a. Past Performance. The Disclosure Statement does not contain any
                     information about the Debtors’ past financial performance. Instead it only
                     refers creditors to the monthly operating reports they filed in this case. That
                     is not sufficient. Information about the Debtors’ past financial performance
                     should be included in the Disclosure Statement in the same format that is
                     used to show the Debtors’ projections of future financial performance.
                 b. R&R Logistics. All of the income of R&R Trucking and much if not all of
                     the income of the Cantus is derived from a related entity, R&R Logistics.
                     Accordingly, both past performance numbers and projections for the future
                     financial performance of R&R Logistics should be provided in the
                     Disclosure Statement in order to permit creditors to evaluate the financial
                     projections made by R&R Trucking and the Cantus. The financials for
                     R&R Logistics should also separately detail the compensation to the Cantus
                     so that creditors can see if it supports their income projections.
                 c. Kiddie Corner Kids Learning Center. If any material amount of the Cantus’
                     income is from Kiddie Corner or any of their other businesses then similar
                     past and projected financial information from those businesses should
                     similarly be included in the Disclosure Statement.
        3. ABSOLUTE PRIORITY RULE. Because the Cantus are proposing to retain their
            ownership interest in R&R Trucking but are not proposing 100% payment to the
            unsecured creditors, the Disclosure Statement should contain a discussion about the
            absolute priority rule of §1129(b)(2) and its impact on the confirmation process.


     The United States Trustee reserves the right to amend its objection to include any issues
     raised by any information subsequently provided to the United States Trustee. The


    United States Trustee’s Objection to Disclosure Statement

19-00473-FPC11        Doc 177       Filed 10/16/20       Entered 10/16/20 10:03:51        Pg 2 of 3
     United States Trustee further reserves any objections to confirmation of the Proposed
     Plan of Reorganization.


     For all of the foregoing reasons, the United States Trustee objects to and asks the Court
     to deny approval of the Disclosure Statement until these problems have been corrected.
     The United States Trustee requests a hearing on this objection.




     Dated: October 16, 2020

                                                         Respectfully submitted,


                                                         GREGORY M. GARVIN
                                                         Acting United States Trustee

                                                         /S/ James D. Perkins
                                                         JAMES D. PERKINS
                                                         Attorney for the United States Trustee




    United States Trustee’s Objection to Disclosure Statement

19-00473-FPC11        Doc 177       Filed 10/16/20       Entered 10/16/20 10:03:51       Pg 3 of 3
